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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES − GENERAL

 Case No.     2:15−cv−03194−BRO−GJS                 Date 9/26/2016
 Title        JEFFREY A THOMAS V. DUN AND BRADSTREET CREDIBILITY CORP


 Present : The Honorable BEVERLY REID O’CONNELL, United States District Judge

         Renee A. Fisher                       Myra Ponce                      N/A
          Deputy Clerk                        Court Reporter                 Tape No.

          Attorneys Present for Plaintiffs:             Attorneys Present for Defendants:
              Daniel M. Hutchinson                                Catherine Kim
                    Aaron Siri                                   Isaac J. Colunga


 Proceedings:       MOTION(S) HEARING (Non-Evidentiary) (Held & Completed)

    PLAINTIFF'S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
 CLASS ACTION SETTLEMENT, [58] (Filed 9/8/16)




       Matter called. Counsel state their appearances for the record. Court questions counsel
 as stated in court and on the record on above motion(s) and invites counsel to present their
 oral arguments. Arguments by counsel are heard.

      The matter is taken under submission, a written order to follow.

      IT IS SO ORDERED.

                                                                                           :05
                                                                     Initials of Preparer: rfi




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